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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


S.M., a minor, by and through her Parents
And natural guardians, CEDRIC McCARRALL
And CARMEN DAVIDSON-McCARRALL,
Individually on behalf of themselves and all
those similarly situated,

            Plaintiffs,

  vs.                                          Case No. 21-cv-12707

BLOOMFIELD HILLS SCHOOL DISTRICT,              Hon. Mark A. Goldsmith
PATRICK WATSON and CHARLIE                     Mag. Judge Kimberly G. Altman
HOLLERITH, in his individual and
official capacities,

            Defendants.
                                         /

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                   DEFENDANT’S ANSWER TO COMPLAINT
                    WITH AFFIRMATIVE DEFENSES AND
                       RELIANCE ON JURY DEMAND
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              NOW COMES Defendants, BLOOMFIELD HILLS SCHOOL DISTRICT,

(improperly named – proper name is BLOOMFIELD HILLS SCHOOLS), PATRICK

WATSON (“WATSON”)          and CHARLIE HOLLERITH (“HOLLERITH”), by and

through their attorneys, Plunkett Cooney, in Answer to Plaintiff’s Complaint, state

as follows:

                          PRELIMINARY STATEMENT

              1.   Defendants deny that a viable cause of action exists.

              2.   Defendants deny the allegations contained therein as same are

untrue.

              3.   Defendants deny the allegations contained therein as same are

untrue.

              4.   Defendants deny the allegations contained therein as same are

untrue.

              5.   Defendants deny the allegations contained therein as same are

untrue.

              6.   Defendants deny the allegations contained therein as same are

untrue.

              7.   Defendants deny the allegations contained therein as same are

untrue.




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            8.     Defendants deny the allegations contained therein as same are

untrue.

            9.     Defendants deny the allegations contained therein as same are

untrue.

            10.    Defendants deny the allegations contained therein as same are

untrue.

            11.    Defendants deny that a viable cause of action exists.

                           JURISDICTION AND VENUE

            12.    Defendants deny that a viable cause of action exists.

            13.    Defendants deny that a viable cause of action exists.

            14.    Defendants deny that a viable cause of action exists.

            15.    Defendants deny that a viable cause of action exists.

            16.    Defendants deny that a viable cause of action exists.

                                    PARTIES

            17.    Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegation and, accordingly, Defendants neither admit

nor deny the allegation.

            18.    Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegation and, accordingly, Defendants neither admit

nor deny the allegation.


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             19.   Defendant BLOOMFIELD HILLS SCHOOLS admit that it is a

governmental entity engaged in the exercise and discharge of a governmental

function. Accordingly, all claims are barred by governmental immunity. By way

of further answer, Defendants are at a loss to explain why this paragraph in the

Complaint refers to “FPS”. Defendant has no ability to identify FPS or determine

whether or not “FPS” acted as alleged in this paragraph of this Complaint.

             20.   Defendant PATRICK WATSON (WATSON), admits that he is

the highest elected or pointed official in the district and, accordingly, Plaintiffs’

claims are barred by governmental immunity/absolute immunity and qualified

immunity.

             21.   Defendant CHARLIE HOLLERITH (HOLLERITH), admits that

he was the principal of Bloomfield Hills High School and further states he was a

governmental employee engaged in the exercise and discharge of a governmental

function. Accordingly, all claims are barred by governmental immunity and/or

qualified immunity.

             22.   Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegation and, accordingly, Defendants neither admit

nor deny the allegation.

                           CLASS ACTION ALLEGATIONS

             23.   Defendants admit the allegations contained therein.


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            24.    Defendants deny the allegations contained therein as same are

untrue.

            25.    Defendants admit that they operate a school district and, more

specifically, a high school. They are a governmental entity engaged in the exercise

and discharge of governmental function. According, all claims are barred by

governmental immunity.

            26.    Defendants deny that a viable cause of action exists.

            27.    Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegation and, accordingly, Defendants neither admit

nor deny the allegation.

            28.    Defendants deny the allegations contained therein as same are

untrue.

            29.    Defendants deny the allegations contained therein as same are

untrue.

            30.    Defendants deny the allegations contained therein as same are

untrue.

            31.    Defendants deny the allegations contained therein as same are

untrue.

            32.    Defendants deny the allegations contained therein as same are

untrue.


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             33.     Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegation and, accordingly, Defendants neither admit

nor deny the allegation.

             34.     Defendants deny the allegations contained therein as same are

untrue.

             35.     Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegation and, accordingly, Defendants neither admit

nor deny the allegation.

             36..    Defendants deny that any of the alleged injunctive relief is

applicable. In addition, Plaintiffs have not pled any alligations that would support

injunctive relief.

                             FACTUAL BACKGROUND

             37.     Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegation and, accordingly, Defendants neither admit

nor deny the allegation.

             38.     Defendants deny the allegations contained therein as same are

untrue.

             39.     Defendants deny the allegations contained therein as same are

untrue.




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             40.   Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegation and, accordingly, Defendants neither admit

nor deny the allegation.

             41.   Defendants deny the allegations contained therein as same are

untrue.

             42.   Defendants deny the allegations contained therein as same are

untrue.

             43.   Defendants deny the allegations contained therein as same are

untrue.

             44.   Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegation and, accordingly, Defendants neither admit

nor deny the allegation.

             45.   The allegation, as written, is nonsensical. Specifically, the

allegation begins with the following sentence, “A Roster of all of the Equestrian

team members was complied.” Accordingly, no response is required as it is

relates to this nonsensical sentence. As it relates to the remainder of the

allegation, Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation and, accordingly, Defendants neither admit nor deny

the allegation.




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             46.   Defendants deny the allegations contained therein as same are

untrue.

             47.   Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegation and, accordingly, Defendants neither admit

nor deny the allegation. By way of further answer, Defendants indicate that any

individual who sought to be a member of the team was welcome as a member of

the team.

             48.   Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegation and, accordingly, Defendants neither admit

nor deny the allegation.

             49.   Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegation and, accordingly, Defendants neither admit

nor deny the allegation.

             50.   Defendants deny the allegations contained therein as same are

untrue. By way of further answer, it is clear that Plaintiff counsel and/or Plaintiff

did not investigate this allegation at all. The alligation is false and sanctions will

be sought pursuant to FRCP 11.

             51.   Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegation and, accordingly, Defendants neither admit

nor deny the allegation.


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            52.    Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegation and, accordingly, Defendants neither admit

nor deny the allegation.

            53.    Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegation and, accordingly, Defendants neither admit

nor deny the allegation.

            54.    Defendants deny the allegations contained therein as same are

untrue.

            55.    Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegation and, accordingly, Defendants neither admit

nor deny the allegation.

            56.    Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegation and, accordingly, Defendants neither admit

nor deny the allegation.

            57.    Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegation and, accordingly, Defendants neither admit

nor deny the allegation.

            58.    Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegation and, accordingly, Defendants neither admit

nor deny the allegation.


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            59.    Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegation and, accordingly, Defendants neither admit

nor deny the allegation.

            60.    Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegation and, accordingly, Defendants neither admit

nor deny the allegation.

            61.    Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegation and, accordingly, Defendants neither admit

nor deny the allegation.

            62.    Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegation and, accordingly, Defendants neither admit

nor deny the allegation. By way of further answer, this is again an allegation that

was not properly investigated by Plaintiffs/Plaintiff Counsel. The factual pattern

is inaccurate and/or incomplete. Rule FRCP 11 sanctions will be sought.

            63.    Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegation and, accordingly, Defendants neither admit

nor deny the allegation.




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                                     COUNT I

                             CAUSE OF ACTION:
                     42 U.S.C § 1983-14TH AMENDMENT
                   EQUAL PROTECTION ALL DEFENDANTS

            64.    Defendants reallege and incorporate paragraphs 1 through 63

above as though more fully set forth herein.

            65.    Defendants objection to this allegation in that it calls for legal

conclusion. Without waiving the objection, Defendant indicates that it is a

governmental entity and/or are governmental employees, engaged in the

exercise and discharge of a governmental function. Accordingly, all claims are

barred by governmental immunity.

            66.    Defendants deny the allegations contained therein as same are

untrue.

            67.    Defendants deny the allegations contained therein as same are

untrue.

            68.    Defendants deny the allegations contained therein as same are

untrue.

            69.    Defendants deny the allegations contained therein as same are

untrue.

            70.    Defendants deny the allegations contained therein as same are

untrue.


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            71.    Defendants deny the allegations contained therein as same are

untrue.

            72.    Defendants deny the allegations contained therein as same are

untrue, inclusive of subparagraphs a. through c.

            73.    Defendants deny the allegations contained therein as same are

untrue.

                                    COUNT II

                              CAUSE OF ACTION:
                              42 U.S.C. § 1985 (3)
                          INVIDIOUS RACIAL ANIMUS

            74.    Defendants reallege and incorporate paragraphs 1 through 73

above as though more fully set forth herein.

            75.    Defendants reallege and incorporate paragraphs 1 through 74

above as though more fully set forth herein.

            76.    Defendants deny the allegations contained therein as same are

untrue.

            77.    Defendants object to this allegation in that it calls for legal

conclusion. Without waiving the objection, Defendants deny that they violated 42

U.S.C. §1985.

            78.    Defendants deny the allegations contained therein as same are

untrue.


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            79.    Defendants objects to this allegation in that it calls for a legal

conclusion. Without waiving the objection, Defendants deny that they violated

the equal protection clause.

            80.    Defendants deny the allegations contained therein as same are

untrue

            81.    Defendants deny the allegations contained therein as same are

untrue, including subparagraphs a. through d.

            82.    Defendants deny the allegations contained therein as same are

untrue.

                                    COUNT III

                              CAUSE OF ACTION:
                               42 U.S.C. §1986
                          INVIDIOUS RACIAL ANIMUS

            83.    Defendants reallege and incorporate paragraphs 1 through 83

above as though more fully set forth herein.

            84.    Defendants deny the allegations contained therein as same are

untrue.

            85.    Defendants deny the allegations contained therein as same are

untrue.

            86.    Defendants deny the allegations contained therein as same are

untrue, including subparagraphs a. through d.


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                                      COUNT IV

                           TITLE IV, 42 U.S.C. § 2000d

              87.   Defendants reallege and incorporate paragraphs 1 through 85

above as though more fully set forth herein.

              88.   Defendants object to this allegation in that it calls for a legal

conclusion.    In addition, the title of this count states “Title IV” while this

paragraph states “Title VI”. A gain, it is difficult to Answer a Complaint when there

are contradictory statements throughout the Complaint. That being said, and

without waiving any objection, Defendants deny they violated 42 U.S.C. § 2000d.

              89.   Defendants acknowledge that the Plaintiffs have quoted a

small portion of 42 U.S.C. § 2000d.

              90.   Defendants admit the allegations contained therein.

              91.   Defendants deny the allegations contained therein as same are

untrue.

              92.   Defendants deny the allegations contained therein as same are

untrue.

              93.   Defendants deny the allegations contained therein as same are

untrue.

              94.   Defendants deny the allegations contained therein as same are

untrue.


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            95.    Defendants deny the allegations contained therein as same are

untrue.

            96.    Defendants deny the allegations contained therein as same are

untrue.

                                    COUNT V

             MCL 37.2302- ELLIOTT-LARSEN CIVIL RIGHTS ACT

            97.    Defendants reallege and incorporate paragraphs 1 through 96

above as though more fully set forth herein.

            98.    Defendants object this allegation in that it calls for a legal

conclusion. Without waiving the objection, Defendants indicates that they have

not violated MCL § 37.2103. Moreover, Defendants are a governmental agency

and governmental employees engaged in the exercise and discharge of a

governmental function and, accordingly, all claims are brought by governmental

immunity.

            99.    Defendants deny the allegations contained therein, including

subparagraphs a. through d., and subparagraphs a. through c., as same are untrue.

            WHEREFORE, Defendants, BLOOMFIELD HILLS SCHOOL DISTRICT,

(improperly named – proper name is BLOOMFIELD HILLS SCHOOLS), PATRICK

WATSON and CHARLIE HOLLERITH request that the Court enter a judgment of




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No Cause for Action together with costs and attorney’s fees so wrongfully

sustained in defending this litigation.

                                      PLUNKETT COONEY

                                      BY:        /s/Michael D. Weaver
                                                 MICHAEL D. WEAVER P43985
                                                 Attorney for Defendants
                                                 38505 Woodward Avenue
                                                 Suite 100
                                                 Bloomfield Hills, MI 48304
                                                 Tele: (248) 901-4025
                                                 mweaver@plunkettcooney.com


                             AFFIRMATIVE DEFENSES


              NOW COME Defendants, BLOOMFIELD HILLS SCHOOL DISTRICT,

PATRICK WATSON and CHARLIE HOLLERITH, by and through their attorneys,

Plunkett Cooney, and submit the following Affirmative Defenses which may be

relied upon at the time of trial of this matter:

              1.    Plaintiffs’ Complaint fails to state a claim upon which relief can

be granted.

              2.    Plaintiffs’ Complaint is barred by governmental immunity,

absolute immunity and qualified immunity.

              3.    There is no viable class action in that Plaintiffs are unable to

meet the elements necessary to plead and prove and certify a class action.



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               4.    Plaintiffs’ Complaint is barred by the applicable Statute of

Limitations.

               5.    Plaintiffs’ Complaint is barred by the Eleventh Amendment.

               3.    Plaintiffs’ Complaint is barred by qualified immunity.

               4.    Plaintiffs’ Complaint is barred by absolute immunity.

               6.    Plaintiffs’ Complaint is barred in that Plaintiffs have failed to

mitigate their damages.

               7.    Plaintiffs are unable to formulate and sustain commonality,

and other elements required under Fed R Civ P, to sustain a class action.

               8.    Plaintiffs’ damages, if any, are the result of intervening acts.

               9.    Plaintiffs’ damages are barred for the reason that the

individually-named Defendants are entitled to qualified immunity.

               10.   Plaintiffs’ 42 USC §1983 claim is barred for the reason that

the theory of respondeat superior is not a basis for a viable claim under the

statute.

               11.   Plaintiffs’ claims are barred for the reason that there has

been no official policy, custom or practice alleged in this boilerplate complaint

and Plaintiffs are being placed on notice that 42 USC §1988 and Fed R Civ P 11

sanctions will be sought.




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             12.   Plaintiffs’ claims are barred for the reason that the

allegations sound in simple negligence and the conduct complained of is not

the type contemplated under 42 USC §1983.

             13.   Plaintiffs’ claims are barred for the reason that Plaintiffs

have failed to allege a deprivation of a specific constitutional right.

             14.   The claimed activity does not result from state action.

             15.   The proximate cause of any injury sustained by Plaintiffs

are the result of Plaintiff’s own acts and omissions.

             16.   The proximate cause of any injury sustained by Plaintiffs

are the result of the acts and omissions of other parties, not the Defendants in

this litigation.

             17.   Plaintiffs lack standing to present the claims in this

Complaint.

             18.   Defendants reserve the right to amend these Affirmative

Defenses up until the time of trial of this matter.

                                    PLUNKETT COONEY

                                    BY:        /s/Michael D. Weaver
                                               MICHAEL D. WEAVER P43985
                                               Attorney for Defendants
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                               RELIANCE ON JURY DEMAND


                  NOW COME Defendants, BLOOMFIELD HILLS SCHOOL DISTRICT,

PATRICK WATSON and CHARLIE HOLLERITH by and through their attorneys,

Plunkett Cooney, and hereby rely on the jury demand as filed by Plaintiffs on or

about November 18, 2021.

                                           PLUNKETT COONEY

                                           BY:        /s/Michael D. Weaver
                                                      MICHAEL D. WEAVER P43985
                                                      Attorney for Defendants
                                                      38505 Woodward Avenue
                                                      Suite 100
                                                      Bloomfield Hills, MI 48304
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                                      PROOF OF SERVICE

                  I hereby certify that on December 1, 2021, a copy of Defendants’ Answer to
Complaint, Affirmative Defenses and Reliance Upon Jury Demand was electronically filed and
the attorney(ies) of record received notice via the court’s ECF system.
                                             PLUNKETT COONEY

                                             /s/Michael D. Weaver_________
                                             MICHAEL D. WEAVER (P43985)
                                             Attorney for Defendants
                                             mweaver@plunkettcooney.com



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